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AQ245D (Rev. 11/16) Judgment in a Criminal Case For Revocations
Sheet |

UNITED STATES DISTRICT COURT

Western District of Washington

 

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
v. (For Revocation of Probation or Supervised Release)

USM Number: = 17525-I111

Mohammed Hamoudi
Defendant’s Attorney

 

THE DEFENDANT:
admitted guilt to violation(s) 1-2 of the petitions dated 7/9/2020
(1 was found in violation(s) after denial of guilt.

 

The defendant is adjudicated guilty of these offenses:

Violation Number Nature of Violation Violation Ended
l. Failing to report for urine testing 03/13/2020
2. Failing to report for substance use treatment 06/22/2020
3. Failing to report change in address 06/23/2020

The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

The defendant has not violated condition(s) 3 and is discharged as to such violation(s).

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States Attorney of material changes in economic circumstances.

S/ Benjamin Diggs

Assistant United States Attorney

11/4/2020 |

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gnature of Judge |

John C. Coughenour, United States District Judge

Name and Title of Judge

11/4/2020
Date

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AQ245D (Rev. 11/16) Judgment in a Criminal Case For Revocations
Sheet 2 — Imprisonment
Judgment — Page 2 of 8

DEFENDANT: Javance Cormier
CASE NUMBER: | 2:19CR00068-JCC

IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

60 days of additional confinement, counted from October 5, 2020, with no credit for time served up to this point.

 

(1 The court makes the following recommendations to the Bureau of Prisons:

() The defendant is remanded to the custody of the United States Marshal.

() The defendant shall surrender to the United States Marshal for this district:
C1 at Olam. Op.m. on

 

LI as notified by the United States Marshal.

L] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

L] before 2 p.m. on

 

LI as notified by the United States Marshal.

LJ as notified by the Probation or Pretrial Services Office.

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL
AO245D
Sheet 3 — Supervised Release

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(Rev. 11/16) Judgment in a Criminal Case For Revocations

Judgment — Page 3 of 8

DEFENDANT: Javance Cormier
CASE NUMBER: | 2:19CR00068-JCC

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of :

24 months

 

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7.

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.
You must not unlawfully possess a controlled substance.

You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days
of release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.

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C

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(1) The above drug testing condition is suspended, based on the court’s determination that you pose a low risk of
future substance abuse. (check if applicable)

You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
of restitution. (check if applicable)

You must cooperate in the collection of DNA as directed by the probation officer. (check ifapplicable)

You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C.
§ 20901, ef seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration
agency in which you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)

You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached pages.
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AQ245D (Rev. 11/16) Judgment in a Criminal Case For Revocations
Sheet 3A — Supervised Release
Judgment — Page 4 of 8

DEFENDANT: Javance Cormier
CASE NUMBER: | 2:19CR00068-JCC

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These
conditions are imposed because they establish the basic expectations for your behavior while on supervision and identify
the minimum tools needed by probation officers to keep informed, report to the court about, and bring about improvements
in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours
of your release from imprisonment, unless the probation officer instructs you to report to a different probation office or
within a different time frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about
how and when you must report to the probation officer, and you must report to the probation officer as instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
permission from the court or the probation officer.

4. You must answer truthfully the questions asked by your probation officer.

You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify
the probation officer within 72 hours of becoming aware of a change or expected Snes

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
excuses you from doing so. If you do not have full-time employment you must try to find full-time employment, unless
the probation officer excuses you from doing so. If you plan to change where you work or anything about your work
(such as your position or your job responsibilities), you must notify the probation officer at least 10 days before the
change. if notifying the probation officer at least 10 days in advance is not possible due to unanticipated circumstances,
you must notify the probation officer within 72 hours of becoming aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone
has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
the permission of the probation officer.

9. Ifyou are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person
such as nunchakus or tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
informant without first getting the permission of the court.

12. Ifthe probation officer determines that you pose a risk to another person (including an organization), the probation
officer may require you to notify the person about the risk and oun must comply with that instruction. The probation
officer may contact the person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.

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U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy
of this judgment containing these conditions. For further information regarding these conditions, see Overview of Probation
and Supervised Release Conditions, available at www.uscourts.gov.

Defendant’s Signature Date

 

 
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Sheet 3D — Supervised Release
Judgment — Page 5 of 8

DEFENDANT: Javance Cormier
CASE NUMBER: | 2:19CR00068-JCC

SPECIAL CONDITIONS OF SUPERVISION

The defendant shall participate as instructed by the U.S. Probation Officer in a program approved by the probation
office for treatment of narcotic addiction, drug dependency, or substance abuse, which may include testing to
determine if defendant has reverted to the use of drugs or alcohol. The defendant shall also abstain from the use of
alcohol and/or other intoxicants during the term of supervision. Defendant must contribute towards the cost of any
programs, to the extent defendant is financially able to do so, as determined by the U.S. Probation Officer. In addition
to urinalysis testing that may be a part of a formal drug treatment program, the defendant shall submit up to eight (8)
urinalysis tests per month.

 

The defendant shall participate as directed in a mental health program approved by the United States Probation
Office. The defendant must contribute towards the cost of any programs, to the extent the defendant is financially
able to do so, as determined by the U.S. Probation Officer.

The defendant shall not associate with any member of the Burnout Family Mafia gang. The defendant shall have no
connection whatsoever with this or any other gang. If he is found to be in the company of such individuals or wearing
the clothing, colors, or insignia of the Burnout Family Mafia, or any other gang, the court will presume that the
association was for the purpose of participating in gang activities. The defendant shall provide the probation officer
with access to any requested financial information including authorization to conduct credit checks and obtain copies
of the defendant's federal income tax returns.

The defendant shall not have contact with any codefendant in this case, without permission of the probation officer,
namely Marcel J. Alley, Michael Lamont Avery, Rick Jason Bailey, Tyrone Banks, Bobby Burnell Barfield, Jason
Keith Barrett, Ahmad Jamal Belton, Ricky Brumfield, Carles Lashaun Buie II, Isaiah Colon, Juan Jesus Colon,
Manuel Colon, Jr., Anthony Ramone Crawford, HU, Shawn Allen Shields, Juan Miguel Ellingberg, Omari Edrice
Evans, Corey D. Jaggers, Charles Lipscomb, Erik Andre Miles, Daryl Tremaine Mitchell, Eric Baronne Moore,
Romel Ontoria Patton, James Wesley Vaughn Jr., Adrian Dewayne Walker (aka “Derek King”), Corey Walker,
Lenzy Jerome Wash, Derrick William White Jr., Patrick Ranier Williams and James Hampton Worthington, Jr..

The defendant shall have no contact with any witnesses in this case, either directly or indirectly. This includes, but
is not limited to, personal contact, telephone, mail, or electronic mail contact, or any other written form of
communication, and includes any harassing, annoying, or intimidating conduct directed to any witness.

The defendant shall notify all prescribing physicians and medical providers, including dentists, of his/her history of
substance abuse and provide the U.S. Probation Officer with verification of notification.

The defendant shall not be within 300 yards of the following street corners in East Oakland without the prior,
expressed consent of the United States Probation Office: (1) 82nd Avenue and Birch Street; (2) 72nd Avenue and
Hawley Street; and (3) 88th Avenue and A Street.

The defendant shall reside in and satisfactorily participate in a residential reentry center program, as a condition of
supervised release or probation for up to 120 days or until discharged by the Program Manager or U.S. Probation
Officer. The defendant may be responsible for a 25% gross income subsistence fee.
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DEFENDANT: Javance Cormier
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The defendant shall submit his or her person, property, house, residence, storage unit, vehicle, papers, computers (as
defined in 18 U.S.C.§1030(e)(1)), other electronic communications or data storage devices or media, or office, to a
search conducted by a United States probation officer, at a reasonable time and in a reasonable manner, based upon
reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a
search may be grounds for revocation. The defendant shall warn any other occupants that the premises may be subject
to searches pursuant to this condition.
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AQ245D (Rev. 11/16) Judgment in a Criminal Case For Revocations

Sheet 5 — Criminal Monetary Penalties

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DEFENDANT: Javance Cormier
CASE NUMBER: — 2:19CR00068-JCC

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment JVTA Assessment’ Fine Restitution
TOTALS = $ Paid in full $ N/A $ N/A $ N/A
CL] The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C)

will be entered after such determination.

[]_ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
victims must be paid before the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage

 

TOTALS $ 0.00 $ 0.00

[] Restitution amount ordered pursuant to plea agreement $

 

[1 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[1] The court determined that the defendant does not have the ability to pay interest and it is ordered that:

L] the interest requirement is waived forthe 1] fine C1 restitution
[] the interest requirement forthe © fine C1 restitution is modified as follows:

(1 The court finds the defendant is financially unable and is unlikely to become able to pay a fine and, accordingly, the imposition
of a fine is waived.

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
offenses committed on or after September 13, 1994, but before April 23, 1996.
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Sheet 6 — Schedule of Payments

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DEFENDANT: Javance Cormier
CASE NUMBER: — 2:19CR00068-JCC

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

PAYMENT IS DUE IMMEDIATELY. Any unpaid amount shall be paid to
Clerk's Office, United States District Court, 700 Stewart Street, Seattle, WA 98101.

During the period of imprisonment, no less than 25% of their inmate gross monthly income or $25.00 per quarter,
whichever is greater, to be collected and disbursed in accordance with the Inmate Financial Responsibility Program.

During the period of supervised release, in monthly installments amounting to not less than 10% of the defendant's gross
monthly household income, to commence 30 days after release from imprisonment.

L] During the period of probation, in monthly installments amounting to not less than 10% of the defendant's gross monthly
household income, to commence 30 days after the date of this judgment.

The payment schedule above is the minimum amount that the defendant is expected to pay towards the monetary
penalties imposed by the Court. The defendant shall pay more than the amount established whenever possible. The

defendant must notify the Court, the United States Probation Office, and the United States Attorney's Office of any
material change in the defendant's financial circumstances that might affect the ability to pay restitution.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during the period of imprisonment. All criminal monetary penalties, except those payments made through
the Federal Bureau of Prisons’ Inmate Financial Responsibility Program are made to the United States District Court,
Western District of Washington. For restitution payments, the Clerk of the Court is to forward money received to the
party(ies) designated to receive restitution specified on the Criminal Monetaries (Sheet 5) page.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[] Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate.

The defendant shall pay the cost of prosecution.
The defendant shall pay the following court cost(s):

The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA Assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
